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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                                    :

                      - against -                           :                 ORDER

BENJAMIN RESTO,                                             :                 08 Cr. 757 (DC)

                              Defendant.                    :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

CHIN, Circuit Judge:

            On November 1, 2020, defendant Benjamin Resto moved for
compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). Dkt. No. 21. It is hereby
ORDERED as follows:

                    (1) The Government shall respond to the motion by November 9, 2020;
and

           (2) If Mr. Resto wishes to submit reply papers, he shall do so by
November 16, 2020.




                    SO ORDERED.

Dated:              New York, New York
                    November 2, 2020
                                                                      /s/ Denny Chin_____
                                                                 DENNY CHIN
                                                                 United States Circuit Judge
                                                                 Sitting by Designation
